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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                         MIDLAND-ODESSA DIVISION

UNITED STATES OF AMERICA,                  )    CR. NO. MO-09-CR-260
                                           )    SENTENCING
                     Plaintiff,            )    ENHANCEMENT INFORMATION
                                           )      [VIO:21 U.S.C. § 841(b)(1)(A) &
VS.                                        )      21 U.S.C. § 851-
                                           )      Enhancement Information,
ARLANA DORIS MOORE,                        )      Prior Felony Drug Offense
                                           )      Conviction]
                     Defendant.            )

THE UNITED STATES ATTORNEY CHARGES:

      That the Defendant,

                               ARLANA DORIS MOORE,

is a person who has been convicted of a felony drug offenses on the following occasions:

      1.      On or about May 17, 2006, the Defendant was convicted of Prohibited
              Substance in Correctional Facility, in the 112th Judicial District Court of Pecos
              County, Texas, Cause Number P-2649-112-CR; and

      2.      On or about September 14, 1990, the Defendant was convicted of Possession
              of Controlled Substance: Methamphetamine, Less than 28 grams, in the 91st
              District Court of Eastland County, Texas, Cause Number 18,463.

      Pursuant to Title 21, United States Code, Section 851, the United States Attorney

hereby notifies the Defendant that upon the Defendant’s conviction for the offense charged

in Count One of the above-numbered Superseding Indictment, the Government will request

the Court to enhance Defendant's sentence for said offense pursuant to the sentencing

provisions of Title 21, United States Code, Section 841(b)(1)(A). Due to the Defendant’s

prior felony drug convictions, this statute provides for a mandatory term of life
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imprisonment, and that, not withstanding any other provision of law, the Court shall not

suspend the sentence of, or grant a probationary sentence to Defendant, nor shall Defendant

be eligible for parole.

                                                Respectfully submitted,

                                                JOHN E. MURPHY
                                                UNITED STATES ATTORNEY



                                         By:       /s/ Austin M. Berry
                                                Assistant United States Attorney
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                                  Certificate of Service

      I hereby certify that on January 15, 2010, I filed this document with the Clerk using
the CM/ECF filing system, which will cause a copy of the document to be delivered to
counsel for Defendant Dan Wade.



                                                 /s/ Austin M. Berry
                                                Assistant United States Attorney




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